                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,             ) Case No. 3:20-cv-00679
                            )
              Plaintiff,    ) Judge: Hon. Aleta A. Trauger
                            )
     v.                     ) JURY TRIAL DEMAND
                            )
HEALTHCARE REVENUE RECOVERY )
GROUP, LLC,                 )
                            )
              Defendant.    )
                            )

 UNOPPOSED MOTION TO RESET JULY 18, 2022 PRETRIAL CONFERENCE

       COMES NOW, Defendant Healthcare Revenue Recovery Group (“Defendant”),

pursuant to Local Rule 6.01 and having conferred with Plaintiff Angela Stewart

(“Plaintiff”), and respectfully submits this unopposed motion to reset the pretrial

conference in the above-styled civil action. In support, Defendant respectfully states as

follows:


       1.     On June 1, 2022, the Court entered its Order Resetting Pretrial Conference

resetting the pretrial conference in this action from July 22, 2022 at 1:30 p.m. to July 18,

2022 at 1:30 p.m. and resetting forth the following pretrial deadlines:


       July 1, 2022:    Parties must exchange copies of exhibits, designations of portions
                        of depositions to be read into evidence;

       July 6, 2022:    Filing deadline for motions in limine;

       July 12, 2022: Filing deadline for responses to motions in limine;




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       July 12, 2022: Filing deadline for witness lists, exhibit lists, stipulations, and
                      expert witness statements;

       July 12, 2022: Filing deadline for Joint Pre-Trial Order;

       July 22, 2022: Deadline for settlement notice to Court for parties’ avoidance of

possible assessment of cost of summoning jury;

Doc. 96.

       2.     On Wednesday, June 1, 2022, counsel for Defendant tested positive for the

COVID-19 virus, despite being fully vaccinated and was ill and quarantined at her home

when the Court issued the Order Resetting Pretrial Conference, and continued to recover

from the virus through and including Sunday, June 5, 2022.

       3.     Upon counsel for Defendant’s return to work, it was determined that the reset

pre-trial conference posed a conflict with a trial that is set to begin on Monday, July 18,

2022 in the State Court of Athens-Clarke County, Georgia.

       4.     Counsel for Defendant communicated the above conflict to Plaintiff’s

counsel, who responded that he would not oppose a motion to reset the pretrial conference

to an alternative date should one be available that is mutually convenient for the Court and

counsel for both parties.

       5.     It appearing that counsel for both parties are available between Tuesday, July

12, 2022 and Friday, July 15, 2022, Defendant respectfully requests that the pretrial

conference be reset during these dates for a date and time that is available and convenient

for this Court.




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       6.     Further, counsel for Defendant agreed, in conjunction with the filing of this

motion, to advise the Court that in the event that the case must be reset, counsel for Plaintiff

is unavailable to appear in the above-styled civil action from Saturday, August 27, 2022

through and including Tuesday, September 6, 2022.

       7.     Good cause exists to reset the pretrial conference and any deadlines

referenced above.

       8.     This request to reset the pretrial conference is not made for any dilatory

purpose, and will not delay the trial of this matter set for July 26, 2022 but rather due to a

trial conflict for the week of July 18, 2022 in the State Court of Athens-Clarke County,

Georgia.

        WHEREFORE, the Parties respectfully request that this Court reset the pretrial

conference for a date and time between Tuesday, July 12, 2022 and Friday, July 15, 2022

and to extend the remaining pre-trial deadlines in accordance with the amount of time by

which the pretrial conference is set back according to the Court’s availability.

Dated: June 6, 2022.

                                    Respectfully submitted,

                                    /s/ Pamela Bagley Webb______
                                    Pamela Bagley Webb, BPR 33698
                                    Gordon, Rees, Scully, Mansukhani
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                       CERTIFICATE OF SERVICE

      I certify that on June 6, 2022, I filed the foregoing UNOPPOSED MOTION

TO RESET JULY 18, 2022 PRETRIAL CONFERENCE with the Court using

CM/ECF, which will send notification of such filing to all counsel of record as

follows:

                                Russell Thompson
                                  (pro hac vice)
                                Amorette Rinkleib
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                              Counsel for Plaintiff


                                        /s/ Pamela Bagley Webb________
                                        Pamela Bagley Webb




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